                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                   No. 5:18-cv-00310


 ATLANTIC COAST PIPELINE, LLC,

                                 Plaintiff,

         v.

 1.261 ACRES, MORE OR LESS, IN
 JOHNSTON COUNTY, NORTH
 CAROLINA, LOCATED ON PARCEL
 IDENTIFICATION NO. 15-M-13-199-J
 IDENTIFIED AS THE SECOND TRACT IN
 BOOK 4558, PAGE 704, INSTRUMENT NO.
 2015444533,                                                COMPLAINT IN CONDEMNATION

         and                                                15 U.S.C. § 717f(h); Fed. R. Civ. P. 71.1

 RICHARD E. ARTHUR
 P.O. Box 554
 Pine Level, NC 27568,

         and

 TERESA C. ARTHUR
 P.O. Box 554
 Pine Level, NC 27568,

                                 Defendants.



                                         Nature of the Case

        1.       Plaintiff Atlantic Coast Pipeline, LLC (“Atlantic”), pursuant to its power of eminent

domain as authorized by Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), and Federal

Rule of Civil Procedure 71.1, files this action for (i) the taking of certain interests in real property;

(ii) if later requested, immediate possession of the easements described herein; and (iii) the




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ascertainment and award of just compensation to the owners of interest in real property, Richard

C. Arthur and Teresa C. Arthur, and any other interested parties (collectively, the “Owners”).

                                    Jurisdiction and Venue

       2.      This Court has original jurisdiction in this matter pursuant to 28 U.S.C. § 1331 and

Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), because: (a) Atlantic is the holder of a

certificate of public convenience and necessity issued by the Federal Energy Regulatory

Commission (“FERC”) for the construction of an interstate natural gas pipeline that crosses West

Virginia, Virginia, and North Carolina; (b) Atlantic, despite negotiation efforts, has been unable

to acquire by contract, or has been unable to agree with the Owners as to the compensation to be

paid for, the necessary easements to construct, operate, and maintain a pipeline for the

transportation of natural gas; and (c) the amount claimed by the Owners exceeds $3,000.

       3.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the interests in the real

property that Atlantic seeks to condemn are located within the Eastern District of North Carolina.

                                             Parties

       4.      Atlantic is a Delaware limited liability company with its principal office located at

120 Tredegar Street, Richmond, Virginia 23219. Atlantic is an interstate natural gas company as

defined by the Natural Gas Act, 15 U.S.C. § 717a(6), and, as such, is authorized to construct, own,

operate, and maintain pipelines for the transportation of natural gas in interstate commerce.

Atlantic’s transportation of natural gas in interstate commerce is subject to the jurisdiction and

approval of FERC.

       5.      Richard C. Arthur and Teresa C. Arthur are the record owners of that certain tract

of land composed of 13.5 acres, more or less, located in Johnston County, North Carolina and

being more particularly described as the Second Tract in Book 4558, Page 704, Instrument No.




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2015444533 of the public records of said County, and as further identified as Parcel Identification

No. 15-M-13-199-J (the “Property”). The Property is depicted on Exhibit 1.

       6.       There may be other persons who claim an interest in the property to be condemned

whose names are currently unknown to Atlantic because they could not be ascertained by a diligent

inquiry. These persons will be made parties to this action as permitted by Federal Rule of Civil

Procedure 71.1(c)(3).

                                               Facts

       7.       Atlantic is in the process of constructing an approximately 600-mile underground

pipeline and related facilities for the purpose of transporting natural gas from West Virginia to

Virginia and North Carolina (the “ACP Project”).

       8.       The ACP Project will measure approximately 42 inches in diameter in West

Virginia and Virginia, and 36 inches in diameter in North Carolina. Certain extensions of the ACP

Project will measure 20 inches in diameter from Northampton County, North Carolina to the City

of Chesapeake, Virginia and 16 inches in diameter in Brunswick County, Virginia and Greensville

County, Virginia.

       9.       Natural gas transported by the ACP Project will serve multiple public utilities and

is necessary to satisfy the growing energy needs of consumers in Virginia and North Carolina.

       10.      Atlantic filed an application for a certificate of public convenience and necessity

with FERC on September 18, 2015, FERC Docket No. CP15-554-000, in which it sought

permission to construct the ACP Project and attendant facilities. On October 13, 2017, FERC

issued a certificate of public convenience and necessity (the “FERC Certificate”) authorizing

Atlantic to construct and operate the ACP Project. A copy of the FERC Certificate is attached as

Exhibit 2.




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        11.      FERC found that the ACP Project will “primarily serve natural gas demand in

Virginia and North Carolina.” See Ex. 2, at 35, ¶ 79.

        12.      FERC also found that the “public at large will benefit from increased reliability of

natural gas supplies.” See Ex. 2, at 35, ¶ 79.

        13.      As a result, the ACP Project “serves a ‘public use’” as determined by FERC. See

Ex. 2, at 34, ¶ 79.

        14.      Atlantic must begin construction of the ACP Project as soon as possible to ensure

completion within FERC’s deadline. See Ex. 2.

        15.      The FERC-approved route of the ACP Project crosses the Property. A map

depicting the route of the ACP Project is attached as Exhibit 3.

        16.      Atlantic seeks to construct a portion of the ACP Project on the Property. The ACP

Project cannot be constructed until Atlantic acquires certain permanent easements (the “Permanent

Easements”) and temporary easements (the “Temporary Easements”) (collectively the

“Easements”). The Easements are necessary for constructing, maintaining, operating, altering,

testing, replacing, and repairing the ACP Project.

        17.      A plat depicting the size and nature of the Easements and the ACP Project’s route

across the Property is attached hereto as Exhibit 4.

        18.      The Permanent Easements to be taken on the Property include a permanent and

exclusive easement and right-of-way to construct, operate, maintain, replace, repair, remove or

abandon the ACP Project and appurtenant equipment and facilities, as well as the right to change

the location of the installed pipeline within the area of the Permanent Easement as may be

necessary or advisable.




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       19.      The Temporary Easements will enable Atlantic to construct the ACP Project and

engage in restoration or clean-up activities. The Temporary Easements are requested as of the date

of authorized entry onto the Property and their use is required until all work, including restoration,

is complete. The Temporary Easements will be effective and condemned for a period not to exceed

five (5) years following Atlantic’s possession of the Easements.

       20.      Atlantic also seeks to acquire the right of ingress and egress to and from and through

the Easements; the right to transport pipe, vehicles, machinery, persons, equipment, or other

materials to and from and through the Easements, and the right of access through any existing

roads on the Property.

       21.      Atlantic also seeks the right to fell trees and clear brush or other vegetation as

necessary or convenient for the safe and efficient construction, operation, or maintenance of the

ACP Project or to maintain safe and efficient access to and from the ACP Project.

       22.      The Owners shall retain the right to use the Property in any manner that will not

interfere with the use and enjoyment of Atlantic’s rights under the Easements. Specifically, the

Owners shall not, without the prior written consent of Atlantic: (a) change the depth of cover or

otherwise undertake earthmoving or construction within the Permanent Easements; (b) place or

permit to be placed any temporary or permanent structure or obstruction of any kind, including but

not limited to buildings, swimming pools, sheds, concrete pads, mobile homes, trees, telephone

or electric poles, water or sewer lines, or similar structures, within the Permanent Easements; (c)

store or operate any heavy equipment in the Permanent Easements, except the use of typical

farming equipment; and (d) construct ponds or lakes in a manner that would flood the Permanent

Easements.




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       23.      Atlantic has negotiated with the Owners and has made several efforts to acquire the

Easements by contract. However, Atlantic and the Owners have been unable to agree upon the

compensation to be paid.

       24.      Atlantic began negotiations with the Owners in June 2016. Specifically, on June

13, 2016, an agent of Atlantic (the “First Agent”) met in person with both of the Owners to discuss

easement acquisition. The Owners indicated disinterest in negotiating an easement acquisition.

The First Agent also sent the Owners an initial offer letter dated June 13, 2016.

       25.      On November 22, 2016, another agent of Atlantic (the “Second Agent”) met with

Owner Teresa Arthur in person to discuss the offer. Owner Teresa Arthur informed the Second

Agent that she did not want to discuss the matter further.

       26.      On December 7, 2016, the Second Agent met with both of the Owners in person to

discuss Atlantic’s offer. The Owners stated that they did not want to discuss the project.

       27.      On May 2, 2017, the Second Agent met with Owner Teresa Arthur. She was

unwilling to discuss or negotiate the offer or easement acquisition, and refused to schedule another

meeting. On May 24, 2017, the Second Agent met with Owner Teresa Arthur again, to discuss a

new offer. Owner Teresa Arthur again refused. On June 1, 2017, Owners communicated to the

Second Agent that the Owners had retained counsel.

       28.      Throughout 2017 and 2018, the Second Agent negotiated with Owners and their

counsel through telephone and in person to attempt to negotiate.

       29.      Atlantic sent Owners’ counsel a letter with a final offer dated June 6, 2018, along

with a copy of the plat attached hereto as Exhibit 4.

       30.      Atlantic also sent Owners a letter with a final offer dated June 15, 2018, along with

a copy of the plat attached hereto as Exhibit 4.




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       31.      Atlantic, through counsel, has continued to negotiate with the Owners, through

counsel, regarding the easement acquisition and the final offer letter and its accompanying plat,

but the parties have been unable to reach an agreement.

       32.      To date, Atlantic and the Owners have been unable to agree on the compensation

to be paid. Thus, despite these negotiations, Atlantic has been unable to acquire the Easements by

contract.

       33.      Pursuant to the authority granted to Atlantic by Congress in Section 7(h) of the

Natural Gas Act, 15 U.S.C. § 717f(h), Atlantic now seeks to take by eminent domain the Easements

over the Property as depicted herein and in Exhibit 4.

       WHEREFORE, Atlantic respectfully requests that this Court:

       A.       Enter an Order of Judgment of Taking by Eminent Domain as to the Easements as

described herein;

       B.       If later requested, grant Atlantic immediate possession of the Easements in the form

of a preliminary injunction prior to the determination of just compensation upon deposit with the

Court of a sum of money representing the value of such Easements as determined by Atlantic’s

appraisal or land rights valuation analysis;

       C.       Ascertain and award just compensation to the Owners for the taking of the

Permanent Easements;

       D.       Ascertain and award just compensation to the Owners for the taking of the

Temporary Easements; and

       E.       Grant such other relief as may be just and proper.




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This the 28th day of June, 2018.


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